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(State Bar No. 70430)

Attorneys for Defendants, PAUL NAPOLI,

PLLC, PAUL NAPOLI LAW, PLLC

NAPOLI KAISER & ASSOCIATES. LLP,

AND NAPOLI LAW, PLLC, NAPOLI
SHKOLNIK, PLLC

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DISTRICT

MARC I. WILLICK, an individual,
Plaintiff,
V.

NAPOLI BERN RIPKA &
ASSOCIATES, LLP, a purported
limited liability partners ip; NAPOLI
BERN RIPKA SHKOL &
ASSOCIATES, LLP, a purported
limited liability Partners ip; NAPOLI
BERN RIPKA SHKOLNIK, LLP, a
purported limited liability partnership;
OLI BERN RIPKA,LLP,a_
pu orted limited liability partnership;
OLI KAISER BERN, LLP, a |
urported limited liability partnership,
C J. BERN, an individual; PA
J. NAPOLI, an individual; NAPOLI
BERN, LLP a limited liabili
artnership; NAPOLI, KAISER, BERN

x ASSOCIATES, LLP, a limited
liability partnershi ; NAPOLI, BERN
SOCIATES-L

& AS TES, LLP, a limited
Liability Barnershi ; LAW OFFICES
OF N LI BERN, LLP, a limited

liability partnership; LAW OFFICES
OF NAPOLI BERN RIPKA &
ASSOCIATES LLP, a limited liability
partnersh ; LAW OFFICES OF
APOLI BERN RIPKA SHKOLNIK
LLP, a limited liability partnership;

 

Case No. 2:15-cv-00652-AB-CE

fAssi ed to Hon. Andre Birotte, Jr.; and
agistrate Judge Charles F. Eick]

DECLARATION OF PAUL NAPOLI
IN SUPPORT OF NAPOLI KAISER
& ASSOCIATES LLP’S MOTION TO
DISMISS FOR LACK OF
PERSONAL JURISDICTION AND
FAILURE TO STATE A CLAIM
UPON WHICH RELIEF MAY BE
GRANTED

Hearing Date: 03/01/2019
Time: 10:00 a.m.
Courtroom: Hon. Andre Birotte

 

 

DECLARATION OF PAUL NAPOLI IN SUPPORT OF NAPOLI KAISER & ASSOCIATES LLP’S MOTION TO
DISMISS

 
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LAW OFFICES OF NAPOLI BERN
RIPKA SHKOLNIK & ASSOCIATES

LLP, a limited liability partnershi ;
PASTERNACK TILKER NAPOLI
BERN, LLP, limited liabili
artnership; NAPOLI SHKOLNIK
LLC, a professional limited liability
company; NAPOLI LAW PLLC, a
pro essional limited lability company;
AUL NAPOLI LAW PLLC, a
professional limited liability company;
ERN RIPKA LLP, a limited liability
artnership; MARC J. BERN &
ARTNERS LLP, a limited liabili
artnership; NAPOLI & BERN LLP a
imited liability partnership; MARC J.
BERN PLLC, a professional limited
liability company; NAPOLI, KAISER
& ASSOCIATES, LLP, a limited
liability partnership; NAPOLI, BERN,
KRE EL & GUZMAN, LLP, a
limited liability partnership; WORBY,
GRONER, EDELMAN & NAPOLI,
BERN, LLP, a limited liability
partnership; PAUL NAPOLI PLLC, a
professional limited liability company,
and DOES 1 through 50,

Defendants.

 

 

 

I, Paul Napoli, hereby declare as follows:

1. I was a partner of Napoli Kaiser and Associates LLP (the “Firm”) and
have personal knowledge of all matters stated herein.

2. There were three partners of the Firm, myself, Marie Kaiser, and
Gerald Kaiser.

3. The Firm was registered with the New York State Division of
Corporations on March 12, 1997. Marie left the firm on or about February 2, 2000.
The firm began to wind down after this time. The firm stopped operating
sometime in 2003. The Firm’s registration was revoked on July 25, 2012.

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DECLARATION OF PAUL NAPOLI IN SUPPORT OF NAPOLI KAISER & ASSOCIATES LLP’S MOTION TO
DISMISS

 
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Attached hereto as Exhibit A is a true and correct copy of the Entity Information
from the New York Divisions of Corporations for The Firm.

4, The Firm only conducted business in the state of New York and New
Jersey when it was operating. It never had any California cases, offices, or
employees.

5. The Firm is not handling, nor has it ever handled, any cases allegedly
referred by Plaintiff Marc I. Willick (“Willick”).

6. The Firm never entered into any agreements with Willick.

7. The Firm has a single office in the state of New York, located at 115
Broadway, 12" Floor, New York, New York 10006. The Firm maintained this
office since March 12, 1997 until approximately 2003 when it stopped operating.

8. The Firm has never assumed the liability of Napoli Bern Ripka &
Associates, LLP.

9. The Firm has never received any transfer of assets from Napoli Bern

Ripka & Associates, LLP.

I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

Dated: January 11, 2019

 

PAUL NAPOLI J

-2-
DECLARATION OF PAUL NAPOLI IN SUPPORT OF NAPOLI KAISER & ASSOCIATES LLP’S MOTION TO
DISMISS

 
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EXHIBIT A
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NYS Department of State

Division of Corporations

Entity Information

The information contained in this database is current through January 10, 2019.

 

Selected Entity Name: NAPOLI, KAISER, & ASSOCIATES, LLP
Selected Entity Status Information

Current Entity Name: NAPOLI, KAISER, & ASSOCIATES, LLP

DOS ID #: 2122015
Initial DOS Filing Date: MARCH 12, 1997
County:
Jurisdiction: NEW YORK
Entity Type: DOMESTIC REGISTERED LIMITED LIABILITY PARTNERSHIP

Current Entity Status: INACTIVE - Revocation of Registration (Jul 25, 2012)

Selected Entity Address Information
DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)

NAPOLI, KAISER, & ASSOCIATES, LLP
115 BROADWAY
12TH FL
NEW YORK, NEW YORK, 10006
Principal Executive Office

NAPOLI, KAISER, & ASSOCIATES, LLP
115 BROADWAY

12TH FL

NEW YORK, NEW YORK, 10006

Registered Agent
NONE

*Stock Information

# of Shares Type of Stock $ Value per Share
No Information Available
https://appext20.dos.ny.gov/corp_public/ ORPSEARCH.ENTITY_INFORMATION?p_token=273C4FE39D26F8084D4542E 10EODBEEA30F35DFAC1... 1/2
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*Stock information is applicable to domestic business corporations.

Name History

Filing Date Name Type Entity Name
MAR 12, 1997 Actual NAPOLI, KAISER, & ASSOCIATES, LLP

A Fictitious name must be used when the Actual name of a foreign entity is unavailable for use in New York
State. The entity must use the fictitious name when conducting its activities or business in New York State.

NOTE: New York State does not issue organizational identification numbers.
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Homepage | Contact Us

 

https://appext20.dos.ny.gov/corp_public/CORPSEARCH ENTITY _INFORMATION?p_token=273C4FE39D26FB08404542E1 OECDBEEA30F35DFAC1... 2/2
